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     Patrick K. Hanly (SBN 128521)
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     Sacramento, California 95814
 2   Telephone: (916) 773-2211
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 3
     Attorney for Defendant
 4   RAJINDER DHILLON
 5
 6
 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          )   Case No: 12-0300 MCE
                                                        )
11                 Plaintiff,                           )   STIPULATION RE TRAVEL
                                                        )
12          vs.                                         )
                                                        )   Date: N/A
13   RAJINDER KAUR DHILLON I,                           )   Time: N/A
                                                        )   Courtroom: Honorable MORRISON C.
14                 Defendant.                           )   ENGLAND JR.
                                                        )
15                                                      )
                                                        )
16                                                      )
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18
            It is hereby stipulated by and between the parties and their respective counsel, Assistant U.S.
19
     Attorney Jared Dolan for the United States and Patrick K. Hanly for the defendant, RAJINDER
20
     DHILLON I, that Mrs. Dhillon may travel to India on or about January 9, 2015 returning to the United
21
     States on or about February 7, 2015.
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                                             STIPULATION RE TRAVEL
              Case 2:12-cr-00300-MCE Document 184 Filed 01/06/15 Page 2 of 2

 1   The Probation Officer assigned to supervise Mrs. Dhillon say she is in full compliance with her
 2   probation obligations and has no objection to this travel request.
 3          Dated: 12/17/ 2014                                    /s/ Jared Dolan
 4                                                                Assistant United States Attorney

 5          Dated: 12/17/ 2014                                    /s/ Patrick K. Hanly
                                                                  Attorney for Defendant Rajinder Dhillon
 6
            IT IS SO ORDERED.
 7
     Dated: January 5, 2015
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                                             STIPULATION RE TRAVEL
